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                           SUPPLEMENTAL WITNESS AND EXHIBIT LIST
                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                 U.S. Bankruptcy Judge: Alfredo R Perez

    Main Case No:          25-30155
   Name of Debtor:         Alliance Farm & Ranch, LLC, et al.

 Adversary Case No:
 Style of Adversary:

  Does this amend or                     Yes                                      No
     supplement a                         X
    previously filed
  Witness & Exhibit                       Date                               CM/ECF No.
 List? If so, state the                5/14/2025                               Doc. 80
date and CM/ECF No.
of such previous filing.

 Hearing/Trial Date:       May 20, 2025
   Hearing Time:           10:00 AM
   Party’s Name:           Dustin Etter
  Attorney’s Name:         Heather Heath McIntyre / Noah Meek

                            CM/ECF No.                                    Matter
                                26                                 Application to Employ
                                                    Okin Adams Bartlett Curry, LLP as General Counsel
                                  31                               Application to Employ
      Nature of                                 Deborah L. Crain and E-Merger Law, PLLC as Special Counsel
    Proceeding(s):                68           Emergency Motion to Convert Case from Chapter 11 to Chapter 7




                                                                       FOR COURT USE ONLY
EX. NO.                DESCRIPTION                     OFFERED     OBJECTION             DISPOSITION

   34. Mercedes Sales Contract
   35. Mercedes Application for Title
   36. Email with 2021 AEP Balance Sheet
   37. Excerpt from 2022 Tax Return
   38. State Court Discovery Request Excerpt

       Dustin Etter reserves any and all rights to amend or supplement this Supplemental Witness and
Exhibit List, to call any witnesses designated by any other party, and use any other exhibit designated by
any other party to the hearing.

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                                               Respectfully submitted,

                                               IRELAN MCDANIEL, PLLC

                                                    /s/ Noah Meek
                                               By:______________________________
                                                      Noah E. W. Meek
                                                      State Bar No. 24084554
                                                      Email: nmeek@imtexaslaw.com
                                                      2520 Caroline St., 2nd Floor
                                                      Houston, Texas 77004
                                                      Phone: (713) 222-7666
                                                      Fax:      (713) 222-7669

                                               ATTORNEYS FOR DUSTIN ETTER




                                       CERTIFICATE OF SERVICE

        This is to certify that on May 19, 2025, a true and correct copy of this instrument was served upon all
parties VIA the Court’s CM/ECF System in compliance with the Federal Rules of Bankruptcy Procedure.

                                                        /s/ Noah Meek
                                                       _____________________________
                                                       Noah Meek




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